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File No. 52,759

Attorneys for Plaintiffs
DEBORAH D. PETERSON. Personal Representatives
of the Estate of James C. Knipple (Dec.), et al.
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

DEBORAH D. PETERSON, Personal) CASE NO. 3:08-mc-80030-JSW
Representative of the Estate of James C. )
Knipple (Dec.). et al., )
) PROOF OF SERVICE
Plaintiffs, )
)
vs. )
)
ISLAMIC REPUBLIC OF IRAN, et al... )
)
Defendants. )
)
Via Email dr-ahmadinejad@president.ir SEE EXHIBIT “E” ATTACHED HERETO
PRESIDENT DR. AHMADINEJAD AND INCORPORATED BY REFERENCE.

ISLAMIC REPUBLIC OF IRAN
Pasadaran Avenue

Golestan Yekom

Teheran, Iran

ATTN: Responsible Officer

ISLAMIC REPUBLIC OF IRAN
Khomeini Avenue

United Nations Street

Teheran, Iran

ATTN: Responsible Officer

PROOF OF SERVICE - CASE NO. 3:08-mc-80024-JSW 1

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I declare:

I am employed in the County of San Francisco, California. I am over the age of eighteen
(18) years and not a party to the within cause. My business address is 165 Fell Street. San
Francisco, CA 94102. On the date set forth below, | served the attached:

NOTICE OF MOTION AND MOTION FOR ASSIGNMENT OF RIGHTS PURSUANT
TO C.C.P. § 708.510(a) AND F.R.C.P. 69(a) [FINANCIAL INSTITUTIONS]

MOTION FOR ASSIGNMENT OF RIGHTS PURSUANT TO C.C.P. § 708.510(a) AND
F.R.C.P, 69(a) [FINANCIAL INSTITUTIONS]

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
ASSIGNMENT OF RIGHTS PURSUANT TO C.C.P. § 708.510(a) AND F.R.C.P. 69(a)
[FINANCIAL INSTITUTIONS]

DECLARATION OF DAVID J. COOK, ESQ. IN SUPPORT OF MOTION FOR
ASSIGNMENT OF RIGHTS PURSUANT TO C.C.P. § 708.510(a) AND F.R.C.P. 69(a)
[FINANCIAL INSTITUTIONS]
on the above-named person(s) by:
XXX_ (BY MAIL) Placing a true copy thereof, enclosed in a sealed envelope with postage
thereon fully prepaid, in the United States mail at San Francisco, California, addressed to the
person(s) served above.

XXX_ (BY EMAIL) Emailing addressed to the person’s/company’s email address listed
above.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on May 1. 2008.

/s/_Karene Jen
Karene Jen

PROOF OF SERVICE - CASE NO. 3:08-mc-80024-JSW

Ne

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ABN Amro

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Credit Suisse AG

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Case 3:08-mc-80030-JSW Document 26-11 Filed 05/01/08 Page 4 of 6

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Atin: PRESIDEN TOR AGENT FOR
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Export Import Bank of Korea

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New York, New York 10022

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Export Import Bank of India

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Case 3:08-mc-80030-JSW

Industrial Bank

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Washington, DC 20011

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International Monetary Fund

700 19th St NW

Washington, DC 20431

Attn: PRESIDENT OR AGENT FOR
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International Finance Corporation
2121 Pennsylvania Ave NW
Washington, DC 20433

Attn: PRESIDENT OR AGENT FOR
SERVICE OF PROCESS

INTERNATIONAL BANK FOR
RECONSTRUCTION AND
DEVELOPMENT (aka THE WOLRD
BANK)

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Japan Bank for International Cooperation
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Mitsubishi Trust and Banking

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Mizuho Corporate Bank ( Japan )
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Los Angeles. CA 90017

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NATIONAL BANK OF PAKISTAN

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Attn: LEGAL PROCESSING DEPT.

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F:\USERS\DJCNEW\PETERSON. banksa

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